                     Case Nos. 23-1374 & 23-1880


             UNITED STATES COURT OF APPEALS
                 FOR THE EIGHTH CIRCUIT

            BROOKE HENDERSON and JENNIFER LUMLEY
                                                  Plaintiffs-Appellants
                                     v.
           SCHOOL DISTRICT OF SPRINGFIELD R-12, et al.,
                                                 Defendants-Appellees


              On Appeal from the United States District Court
                 for the Western District of Missouri - Springfield
           Case No. 6:21-cv-03219, Hon. M. Douglas Harpool, presiding


   Motion for Leave to File Brief of Amici Curiae Mountain States Legal
             Foundation and Texas Public Policy Foundation


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                      Texas Public Policy Foundation




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               CORPORATE DISCLOSURE STATEMENTS

      Amicus Curiae Mountain States Legal Foundation hereby certifies that it has

no parent company and no publicly held corporation owns 10% or more of its stock.

      Amicus Curiae Texas Public Policy Foundation hereby certifies that it has no

parent company and no publicly held corporation owns 10% or more of its stock.




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      Pursuant to Federal Rule of Appellate Procedure 29, Mountain States Legal

Foundation and Texas Public Policy Foundation move for leave to file the attached

amici curiae brief in support of Plaintiff-Appellants.

      Pursuant to Fed. R. App. P. 29(a)(2), counsel for amici informed counsel for

Plaintiffs-Appellants and Defendants-Appellees of the intent to file an amici curiae

brief. Plaintiffs-Appellants provided blank consent for filing this brief. By contrast,

on May 10, 2023, Defendants-Appellees informed counsel for amici that they

oppose the filing of this brief.

      As set forth below, the proposed brief brings important and experience-based

perspectives to the Court’s attention that are not already discussed by the parties,

and which are directly relevant to the issues presented in Plaintiffs’ motion.

      Amici have a strong interest in the proper interpretation and application of the

public employee speech doctrine. Accordingly, Mountain States Legal Foundation

and Texas Public Policy Foundation respectfully request that the Court grant this

motion and accept the proposed amici curiae brief.

                                       ARGUMENT

      I.     Identity and interest of amici curiae

      Mountain States Legal Foundation (“MSLF”) is a non-profit public interest

law firm organized under the laws of the State of Colorado. MSLF is dedicated to

bringing before the courts issues that are vital to the defense and preservation of


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individual liberties: the right to speak freely, the right to equal protection of the laws,

and the need for limited and ethical government. Since its creation in 1977, MSLF

attorneys have been active in litigation regarding the proper interpretation and

application of statutory, regulatory, and constitutional provisions. See, e.g., Adarand

Constructors, Inc. v. Pena, 515 U.S. 200 (1995) (MSLF serving as lead counsel);

303 Creative LLC v. Elenis, 142 S. Ct. 1106 (2022) (mem.) (amici curiae in support

of petitioners); Knipp v. Tri County Health, No. 22-sc-647, 2022 WL 17586338

(Colo. Dec. 12, 2022) (granting MSLF leave to participate as amicus on petition for

certiorari stage).

       Texas Public Policy Foundation is a 501(c)(3) nonprofit, non-partisan

research institute. Its mission is to promote and defend liberty, personal

responsibility, and free enterprise in Texas and the nation. Through its litigation arm,

the Center for the American Future, it also frequently sues governmental entities on

behalf of people and businesses whose livelihood, liberty, and property are

threatened by government action. Because this lawsuit concerns the circumstances

under which public-interest litigation centers can be made to pay the legal fees of

their government opposition, Amicus believes that its participation is especially

important.




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      II.    The Proposed Brief Would Aid the Court.

      This case presents critical questions affecting the First Amendment speech

rights of public employees. While public employers have some control over the

speech of their employees in certain instances, public employees do not leave their

right to free speech at the workplace door.

      This brief will assist this Court in outlining the proper contours of the

employee speech doctrine articulated through Pickering v. Bd. of Ed. of Twp. High

Sch. Dist. 205, Will Cnty., Illinois, 391 U.S. 563 (1968), Connick v. Myers, 461 U.S.

138 (19983), and Garcetti v. Ceballos, 547 U.S. 410 (2006) (the “Pickering-Connick

framework”), in the context of compelled speech.

      This brief urges the Court to recognize that Defendants-Appellees’ mandatory

equity trainings compelled Plaintiffs-Appellants’ to engage in private speech on a

matter of public concern; the brief also urges the Court to reject Pickering balancing

in the context of compelled speech, and suggests that the Appellees can never have

an interest in compelling public employees to engage in disruptive, divisive speech.

This brief will aid the Court in considering important authorities when deciding

whether to reverse and remand the district court’s order. In this context, Amici

present to the Court certain materials issued by the U.S. Department of Education

that other parties may not be aware of, and which cover the time of the training in

October 2020.


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                                CONCLUSION

      Mountain States Legal Foundation and Texas Public Policy Foundation

respectfully seek leave to file their proposed amici curiae brief, in support of

Plaintiffs-Appellants.

      Dated: May 26, 2023

                                       Respectfully submitted,

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                       CERTIFICATE OF COMPLIANCE

      The undersigned hereby certify that this motion complies with Fed. R. App.

P. 29 and Fed. R. App. P. 32 because it contains 718 words, excluding the parts

exempted by Fed. R. App. P. 32(f).

      This motion complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because it has

been prepared in Microsoft Word using 14-point Times New Roman proportionally

spaced typed font.

      I further certify that this brief is virus free, as verified by SentinelOne – Virus

& threat protection.

                                         /s/ William E. Trachman
                                         William E. Trachman
                                         MOUNTAIN STATES LEGAL FOUNDATION

                                         Attorney for Plaintiffs-Appellants




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                       CERTIFICATE OF CONFERENCE
      Counsel for Plaintiffs-Appellants provided blank consent for the filing of this

brief. Counsel for amici curiae sought consent via email on May 5, 2023, from

counsel for Defendants-Appellees. Defendants-Appellees stated on May 10, 2023,

that they oppose the filing of the brief.


                                            /s/William E. Trachman
                                            William E. Trachman
                                            MOUNTAIN STATES LEGAL FOUNDATION

                                            Attorney for Plaintiffs-Appellants




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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 26th day of May 2023, I electronically filed the

foregoing using this Court’s CM/ECF system. I certify that all participants, in this

case are registered CM/ECF users and service will be accomplished by this Court’s

CM/ECF system.

                                       /s/ William E. Trachman
                                       MOUNTAIN STATES LEGAL FOUNDATION

                                       Attorney for Plaintiffs-Appellants




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                 EXHIBIT A




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